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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )                 8:13CR107
                     Plaintiff,                )
                                               )
       vs.                                     )                   ORDER
                                               )
VINCENT DIBERARDINO,                           )
                                               )
                     Defendant.                )

       This matter is before the court on the motion to continue by defendant Vincent
Diberardino (Diberardino) (Filing No. 334). Diberardino seeks a continuance of the trial
scheduled for December 8, 2014. Diberardino's counsel represents that Diberardino will file
an affidavit wherein he consents to the motion and acknowledges he understands the
additional time may be excludable time for the purposes of the Speedy Trial Act. Upon
consideration, the motion will be granted.


       IT IS ORDERED:
       1.     Diberardino's motion to continue trial (Filing No. 334) is granted.
       2.     Trial of this matter is re-scheduled for January 5, 2015, before Senior Judge
Joseph F. Bataillon and a jury. The ends of justice have been served by granting such motion
and outweigh the interests of the public and the defendant in a speedy trial. The additional
time arising as a result of the granting of the motion, i.e., the time between December 1,
2014, and January 5, 2015, shall be deemed excludable time in any computation of time
under the requirement of the Speedy Trial Act for the reason that defendant's counsel requires
additional time to adequately prepare the case. The failure to grant additional time might
result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).
       DATED this 1st day of December, 2014.
                                                   BY THE COURT:

                                                   s/ Thomas D. Thalken
                                                   United States Magistrate Judge
